   Case: 1:13-cv-07480 Document #: 82 Filed: 01/22/15 Page 1 of 10 PageID #:1484




                          UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

ABC & S, INC. d/b/a ABLUM                        )
BROWN & CO.,                                     )
                                                 )
              Plaintiff,                         )      No. 13 C 07480
                                                 )
       v.                                        )
                                                 )      Judge Edmond E. Chang
MACFARLANE GROUP, INC.,                          )
                                                 )
              Defendant.                         )

                           MEMORANDUM OPINION AND ORDER

       Plaintiff ABC & S, Inc., doing business as Ablum Brown & Company, filed

this action against Defendant MacFarlane Group, Inc. for breaching a contract

under which Ablum Brown was supposed to provide financial-advisory and

investment-banking services, in exchange for a fee.1 R. 1, Compl. Specifically,

Ablum Brown alleges that MacFarlane failed to pay a $1.2 million investment

banking fee that Ablum Brown earned under the contract. Id. ¶¶ 13-20. MacFarlane

now moves for summary judgment. R. 42, Mot. Summ. J. For the reasons discussed

below, MacFarlane’s motion for summary judgment is granted.




       1The  Court exercises subject-matter jurisdiction under 28 U.S.C. § 1332 based on the
complete diversity of the parties (Ablum Brown is an Illinois corporation with its principal
place of business there; MacFarlane is a Nevada corporation with a Kansas principal place
of business) and an amount in controversy exceeding $75,000. Citations to the docket are
“R.” followed by the entry number and, when necessary, the page/paragraph number.
Citations to the parties’ Local Rule 56.1 Statements of Fact are “DSOF” (for MacFarlane’s
Statement of Facts) [R.75]; “PSOF” (for Ablum Brown’s Statement of Additional Facts)
[R. 74 at 17-20]; Pl.’s Resp. to DSOF (for Ablum Brown’s Response to MacFarlane’s
Statement of Facts) [R. 74 at 1-17]; Def.’s Resp. to PSOF (for MacFarlane’s Response to
Ablum Brown’s Statement of Facts) [R. 78 at 18-26].
  Case: 1:13-cv-07480 Document #: 82 Filed: 01/22/15 Page 2 of 10 PageID #:1485




                                 I. Background

      In deciding MacFarlane’s motion for summary judgment, the Court views the

evidence in the light most favorable to the non-moving party. Matsushita Elec.

Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 587 (1986). ABC & S, Inc. (doing

business as Ablum Brown & Co.) is an Illinois corporation wholly-owned by Thomas

Ablum. DSOF ¶¶ 2-3; Pl.’s Resp. DSOF ¶¶ 2-3. Thomas Ablum holds Series 7 and

Series 79 licenses and is registered with the Financial Industry Regulatory

Authority, Inc. (FINRA). DSOF ¶ 46; Pl.’s Resp. DSOF ¶ 46. To receive these

licenses, FINRA requires individuals to be associated with a FINRA member-firm.

FINRA Rule 1031. Thomas Ablum entered into an independent contractor

agreement with Arete Wealth Management, Inc., a FINRA-registered broker-dealer,

so that Arete could supervise Thomas Ablum’s security-based transactions under

FINRA rules. DSOF ¶¶ 49-51. Ablum Brown & Co. is not registered with FINRA.

DSOF ¶ 46; Pl.’s Resp. DSOF ¶ 46.

      In January 2011, MacFarlane, a Nevada corporation, needed funding to

extinguish its existing debt and generate working capital to operate and expand its

operations. DSOF ¶¶ 1, 4. To procure this funding, MacFarlane entered into the

engagement agreement with Ablum Brown that is the sole subject of this lawsuit.

Id. ¶ 5. The agreement, signed January 13, 2011, set out the terms by which Ablum

Brown would “provide financial advisory and investment banking services” to

MacFarlane “and its related entities.” R. 75-7, Def.’s Exh. G, Engagement Letter.

Ablum Brown was to help MacFarlane “obtain up to $90 million of (i) senior debt



                                        2
  Case: 1:13-cv-07480 Document #: 82 Filed: 01/22/15 Page 3 of 10 PageID #:1486




financing or (ii) subordinated loan with or without warrants or (iii) a combination of

subordinated loan with or without warrants and equity.” Id. § 1(A) (“The equity can

be either preferred stock or common stock or any combination.”).

      Under the compensation provision of the agreement, Ablum Brown would

receive four percent of the first $30 million in financing, three percent of the second

$30 million in financing, and two percent of the third $30 million. Id. § 2(A). This

investment fee would be “payable in full at the initial closing” of the financing. Id.

Ablum Brown would also receive this investment fee if MacFarlane “or its

successors,   assigns,   subsidiaries,   [or]   wholly   owned   entities   receive   any

commitments or funding from the parties introduced by Ablum Brown” within two

years after the date the initial financing is placed or the agreement is terminated.

Id. Ablum Brown alleges that it is owed an investment banking fee under the

compensation provision of the agreement because MacFarlane received funding

from a party introduced to MacFarlane by Ablum Brown. Compl. ¶ 13.

                                 II. Legal Standard

      Summary judgment must be granted “if the movant shows that there is no

genuine dispute as to any material fact and the movant is entitled to judgment as a

matter of law.” Fed. R. Civ. P. 56(a). A genuine issue of material fact exists if “the

evidence is such that a reasonable jury could return a verdict for the nonmoving

party.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). In evaluating

summary judgment motions, courts must view the facts and draw reasonable

inferences in the light most favorable to the non-moving party. Scott v. Harris, 550



                                            3
  Case: 1:13-cv-07480 Document #: 82 Filed: 01/22/15 Page 4 of 10 PageID #:1487




U.S. 372, 378 (2007). The Court may not weigh conflicting evidence or make

credibility determinations, Omnicare, Inc. v. UnitedHealth Grp., Inc., 629 F.3d 697,

704 (7th Cir. 2011), and must consider only evidence that can “be presented in a

form that would be admissible in evidence,” Fed. R. Civ. P. 56(c)(2). The party

seeking summary judgment has the initial burden of showing that there is no

genuine dispute and that they are entitled to judgment as a matter of law.

Carmichael v. Village of Palatine, 605 F.3d 451, 460 (7th Cir. 2010); see also Celotex

Corp. v. Catrett, 477 U.S. 317, 323 (1986); Wheeler v. Lawson, 539 F.3d 629, 634 (7th

Cir. 2008). If this burden is met, the adverse party must then “set forth specific

facts showing that there is a genuine issue for trial.” Anderson, 477 U.S. at 256.

                                     III. Analysis

      Under Illinois law,2 contracts that violate valid state or federal statutes are

generally void as a matter of law. See T.E.C. & Assocs., Inc. v. Alberto-Culver Co.,

476 N.E.2d 1212, 1220 (Ill. App. Ct. 1985); see also K. Miller Constr. Co. v.

McGinnis, 938 N.E.2d 471, 478 (Ill. 2010) (“If the statute explicitly provides that a

contractual term which violates the statute is unenforceable then, barring any

constitutional objection, the term is unenforceable.”). MacFarlane argues that its

agreement with Ablum Brown is in violation of § 15 of the Securities Exchange Act

of 1934, 15 U.S.C. § 78a, et seq., and is therefore unenforceable. R. 76, Def.’s Br. at

12-13. Section 15(a)(1) of the Exchange Act makes it “unlawful for any broker or

dealer … to make use of the mails or any means or instrumentality of interstate


      2The   parties assume that Illinois law governs, and the Court will proceed on that
basis. See Checkers Eight Ltd. P’ship v. Hawkins, 241 F.3d 558, 561 (7th Cir. 2001).
                                           4
  Case: 1:13-cv-07480 Document #: 82 Filed: 01/22/15 Page 5 of 10 PageID #:1488




commerce to effect any transactions in, or to induce or attempt to induce the

purchase or sale of, any security … unless such broker or dealer is registered in

accordance with subsection (b) of this section.” 15 U.S.C. §78o(a)(1). Subsection (b)

requires broker-dealers to maintain a membership with a self-regulatory

organization, which includes FINRA. 15 U.S.C. § 78o(b)(8) (“It shall be unlawful for

any registered broker or dealer to effect any transaction in, or induce or attempt to

induce the purchase or sale of, any security … unless such broker or dealer is a

member of a securities association registered pursuant to section 78o-3 of this

title.”); see also 15 U.S.C. § 78o-3; Fiero v. Fin. Indus. Regulatory Auth., Inc., 660

F.3d 569, 571 (2d Cir. 2011) (“FINRA is … a national securities association

registered with the SEC pursuant to the Maloney Act of 1938, 15 U.S.C. § 78o-3, et

seq.”). Section 29(b) of the Exchange Act further states that “[e]very contract … the

performance of which involves the violation of, or the continuance of any

relationship or practice in violation of, any provision of this chapter or any rule or

regulation thereunder, shall be void.” 15 U.S.C. § 78cc(b) (including exceptions not

relevant here).

      On its face, the agreement between Ablum Brown and MacFarlane

encompasses services that would require registration under § 15 of the Exchange

Act. In generating financing for MacFarlane, Ablum Brown would be involved in

issuing preferred or common stock on MacFarlane’s behalf. Def.’s Exh. G,

Engagement Letter § 1(A). This would certainly be an “attempt to induce the

purchase or sale of” a security by Ablum Brown. See 15 U.S.C. §78o(a)(1). Ablum



                                          5
  Case: 1:13-cv-07480 Document #: 82 Filed: 01/22/15 Page 6 of 10 PageID #:1489




Brown even appears to concede that MacFarlane was an “issuer of securities,” thus

bringing the agreement under the umbrella of the Exchange Act. See, e.g., R. 73,

Pl.’s Resp. Br. at 15 (“[T]he Kansas statute exempts interactions with an issuer of

securities, which is what the defendant was doing in order to obtain financing.”).

Indeed, Ablum Brown does not present any developed argument against

MacFarlane’s argument that the contract called for Ablum Brown to engage in

conduct prohibited by §15(a)(1) of the Exchange Act. Because Ablum Brown would

be attempting to induce the purchase of securities issued by MacFarlane under the

agreement, the company would need to be registered. 15 U.S.C. §78o(a)(1). Ablum

Brown concedes that it was not registered with FINRA. Pl.’s Resp. DSOF ¶ 46. And

the entity that was registered, Arete, did not supervise or otherwise approve the

transaction. Id. ¶ 60. Since § 29(b) explicitly states that a contract that involves the

violation of the Exchange Act is void, 15 U.S.C. § 78cc(b), the engagement

agreement between Ablum Brown and MacFarlane is unenforceable. K. Miller

Constr., 938 N.E.2d at 478.

      Ablum Brown argues that MacFarlane’s illegality defense fails because there

is no private right of action under § 15(a). Pl.’s Resp. Br. at 17. In support of this

argument, Ablum Brown cites several cases in which a party alleged an

independent violation of § 15, rather than the affirmative defense of illegality. See

SEC v. Seabord Corp., 677 F.2d 1301, 1313-14 (9th Cir. 1982) (describing a case in

which a mutual fund “asserted a claim against [a cross-defendant] under § 15 of the

1934 Act” and holding that there was no private right of action); Asch v. Philips,



                                           6
   Case: 1:13-cv-07480 Document #: 82 Filed: 01/22/15 Page 7 of 10 PageID #:1490




Appel & Walden, Inc., 867 F.2d 776, 777 (2d Cir. 1989) (holding that there was no

private cause of action under § 15 when investors sued a brokerage firm for

violating several sections of the Exchange Act); Hayden v. Walston & Co., 528 F.2d

901, 901-02 (9th Cir. 1975) (holding that investors’ “attempt to predicate a private

cause of action on violation of the NASD rule requiring registration of salesman”

was “unavailing”). But “[n]o private right of action under a statute is necessary to

assert a violation of that statute as an affirmative defense.” Costello v. Grundon,

651 F.3d 614, 622-29 (7th Cir. 2011) (determining that borrowers could assert an

illegality affirmative defense against enforcement of a contract that allegedly

violated §§ 7(d) and 29(b) of the Exchange Act); see also Kaiser Steel Corp. v.

Mullins, 455 U.S. 72, 86 (1982) (“While only the [National Labor Relations Board]

may provide affirmative remedies for unfair labor practices, a court may not enforce

a contract provision which violates § 8(e) [of the National Labor Relations Act].”).

Particularly when the statute also provides that contracts which violate it are void,

as the Exchange Act does through § 29(b), “Congress must have assumed that the

statute could be raised defensively in private litigation to preclude the enforcement

of a contract.” Kaiser, 455 U.S. at 85-86 (internal alterations and quotation marks

omitted) (quoting Transamerica Mortg. Advisors, Inc. v. Lewis, 444 U.S. 11, 18

(1979)). Ablum Brown’s resort to the absence of a private right of action therefore

fails.

         The only remaining question then, is whether Ablum Brown has set forth any

facts that would suggest that the contract should be enforced because there was no



                                          7
  Case: 1:13-cv-07480 Document #: 82 Filed: 01/22/15 Page 8 of 10 PageID #:1491




violation of §15(a)(1). See Anderson, 477 U.S. at 256 (holding that, in response to a

properly supported motion for summary judgment, a plaintiff must “set forth

specific facts showing that there is a genuine issue for trial”). It has not. Ablum

Brown makes no argument that it was exempt from the registration requirements

of § 15(a)(1). It makes no argument that the services described in the contract are

not subject to regulation by the Exchange Act. It makes no serious argument that

§ 15 was not violated. See Pl.’s Resp. Br. at 17 n.3 (a one-sentence footnote,

conclusorily stating without any citation to authority, that it is “[u]nlikely” that

Ablum Brown violated the Exchange Act “given that [Ablum Brown] is wholly

owned by Tom Ablum”); see also Estate of Moreland v. Dieter, 395 F.3d 747, 759 (7th

Cir. 2005) (“Perfunctory or undeveloped arguments are waived.”). Apart from its

irrelevant contention that there is no private right of action, Ablum Brown presents

no legal authority or record evidence that would support enforcement of the

contract.

      With no additional facts from Ablum Brown, the undisputed facts before the

Court demonstrate that the contract between the parties is void as a matter of law.

The contract contemplates the provision of security-related services by Ablum

Brown. See Def.’s Exh. G, Engagement Letter. Federal law requires that an entity

be registered to provide security-related services. See 15 U.S.C. §78o(a)(1). Ablum

Brown is not registered. See Pl.’s Resp. DSOF ¶ 46. The contract between Ablum

Brown and MacFarlane is in violation of the Exchange Act and is thus void and

unenforceable. See K. Miller Constr., 938 N.E.2d at 478; see also 15 U.S.C. § 78cc(b)



                                         8
  Case: 1:13-cv-07480 Document #: 82 Filed: 01/22/15 Page 9 of 10 PageID #:1492




(stating that contracts made in violation of the Exchange Act are void).3

MacFarlane’s motion for summary judgment is granted.

      As an alternative to the breach of contract claim, Ablum Brown asks for leave

to amend its complaint to include claims for promissory estoppel and unjust

enrichment. Pl.’s Resp. Br. at 18-19. Under Federal Rule of Civil Procedure 15(a),

district courts should “freely give leave [to amend] when justice so requires.” Fed. R.

Civ. P. 15(a)(2). But leave to amend is not granted automatically. See Airborne

Beepers & Video, Inc. v. AT & T Mobility LLC, 499 F.3d 663, 666 (7th Cir. 2007).

“Although [Rule 15(a)] reflects a liberal attitude towards the amendment of

pleadings, courts in their sound discretion may deny a proposed amendment if the

moving party has unduly delayed in filing the motion, if the opposing party would

suffer undue prejudice, or if the pleading is futile.” Soltys v. Costello, 520 F.3d 737,

743 (7th Cir. 2008) (quoting Campania Mgmt. Co. v. Rooks, Pitts & Poust, 290 F.3d

843, 848-49 (7th Cir. 2002)). Here, Ablum Brown was on notice that MacFarlane

intended to present an illegality defense several months before it asked to amend its

claim. See R. 31, Am. Answer and Affirmative Defenses at 7. It took no steps to

amend at that time, and it provides no explanation for the delay. And with

discovery closed, allowing the assertion of new claims would require even more

delay in the case.

      But more importantly, even if the Court were to allow the amendment,

Ablum Brown would not be entitled to relief. Under Illinois law, a contract that


      3Because the contract is unenforceable, the Court need not consider the parties’
arguments surrounding the interpretation of the contract.
                                           9
  Case: 1:13-cv-07480 Document #: 82 Filed: 01/22/15 Page 10 of 10 PageID #:1493




violates a law is “void ab initio.” People v. Caban, 743 N.E.2d 600, 606 (Ill. App. Ct.

2001). And “a contract that is void ab initio is treated as though it never existed.”

Ill. State Bar Ass’n Mut. Ins. Co. v. Coregis Ins. Co., 821 N.E.2d 706, 713 (Ill. App.

Ct. 2004). Thus, the general rule is that “parties to a void contract will be left where

they have placed themselves.” Gamboa v. Alvarado, 941 N.E.2d 1012, 1016-17 (Ill.

App. Ct. 2011) (internal quotation marks and citation omitted); see also USX Corp.

v. Liberty Mut. Ins. Co., 645 N.E.2d 396, 404 (Ill. App. Ct. 1994) (“[O]ne cannot

deploy the doctrine of promissory estoppel to enforce a promise which contravenes

public policy and is resultantly unenforceable as a contract.”). Because the

amendment would be futile, Ablum Brown’s motion for leave to amend its complaint

to include claims for promissory estoppel and unjust enrichment is denied on that

ground as well.

                                   IV. Conclusion

      For the reasons stated above, MacFarlane’s motion for summary judgment is

granted. Ablum Brown’s request to amend its complaint to allege causes of action

for promissory estoppel or unjust enrichment is denied.

                                               ENTERED:



                                                     s/Edmond E. Chang
                                               Honorable Edmond E. Chang
                                               United States District Judge

DATE: January 22, 2015




                                          10
